                           SUBJECT TO PROTECTIVE ORDER
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                          DELETION CODES

A.    INFORMATION WHICH IS PROPERLY CLASSIFIED PURSUANT TO
      EXECUTIVE ORDER, THE DISCLOSURE OF WHICH COULD
      REASONABLY BE EXPECTED TO CAUSE DAMAGE TO THE NATIONAL
      SECURITY OR THE CONDUCT OF THE GOVERNMENT'S
      INTERNATIONAL RELATIONS.

B.    INFORMATION, THE DISCLOSURE OF WHICH WOULD TEND TO
      REVEAL THE IDENTITY OF AN INFORMANT.

D.    INFORMATION PROTECTED UNDER THE GRAND JURY SECRECY
      PROVISION -- RULE 6(E) OF THE FEDERAL RULES OF CRIMINAL PROCEDURE.

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0-1. INFORMATION, THE DISCLOSURE OF WHICH WOULD IDENTIFY MATERIAL
     FILED UNDER SEAL.

P-1. INFORMATION, THE DISCLOSURE OF WHICH WOULD BE AN UNWARRANTED
     INVASION OF PERSONAL PRIVACY.




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                                                                      FEDERAL BUREAU OF INVESTIGATION
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                Investigation on                                      at
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                                                                                                                                           09/28/2005

                           On September 25 and 26, 2005, Alexi Ditiatkovsky was
                 interviewed at the at the Marriot Hotel, Montreal, Canada. Present at
                 this interview were AUSA Michael Humphreys, SA Debra LaPrevotte,
                 FBI-WFO, LS Eugenia Leus, FBI-WFO, RCMP Staff Sargent Ronald
                 Charlebois, and attorneys for Ditiatkovsky, Nancy Hollander and Theresa
                 Duncan. Ditiatkovsky requested, that until such time as he may be used
                 as a witness, that his participation in this interview remain
                 confidential.

                           At the beginning of this interview, AUSA Michael Humphreys
                 made it clear to Mr. Ditiatkovsky and his attorneys, that the United
                 States Government made no promises of assistance and did not offer
                 Ditiatkovsky anything of benefit in exchange for information provided
                 to the United States.

                            Ditiatkovsky does speak English, however, for better
                 clarification for all present, LS Eugenia Leus, FBI Russian translator,
                 was present and provided translation when needed.

                           Ditiatkovsky informed that he is an only child and was born
                 in the Ukraine in 1955 and that he is Jewish.    His mother was a
                 Pediatrician, and his father was an executive at a metal factory.
                 Ditiatkovsky is now an Israeli citizen and splits his time between
                 Israel and Germany.   Ditiatkovsky's wife lives in Germany.
                 Ditiatkovsky obtained two educational degrees, one in Automated Control
                 Systems and a second from the Kiev Institute in Finance and Ecomonics.

                           Ditiatkovsky stated that while Ukraine was under Communist
                 rule, he became a member of the Communist Party. He stated that this
                 was important because he was Jewish and that there were very few Jewish
                 members of the Communist Party. As a young man, Ditiatkovsky worked
                 at the Scientific Institute and then he went back to school and after
                 graduation he worked as the Head of the Department of a construction
                 supply company. From 1986 until 1993,Ditiatkovsky managed a company
                 that managed restaurant and catering services called Stazaya Bashnya.
                 Eventually, Ditiatkovsky became the Director of a trading company,
                 called Dneproneft. -


                           Ditiatkovsky was asked if he had ever been interviewed
                 regarding his association with Pavel Lazarenko, in the past.


                                   9/25/05                          Montreal, Canada

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                 SA Debra LaPrevotte




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                 Ditiatkovsky stated that back in February or March 1997, he was
                 interviewed by the Prosecutor General's Office (PGO) of the Ukraine.
                 Ditiatkovsky added that during this time, Lazarenko called him twice
                 to tell him that this was nothing of importance and that these interviews
                 were just a formality.

                           Ditiatkovsky stated that back in 1994, while Lazarenko held
                 political positions in the Ukraine, President Kuchma knew that      ~­
                 Lazarenko was sending money out of the Ukraine and the PGO was seeking
                 information about Lazarenko's foreign bank accounts.    Ditiatkovsky
                 believed that many members of the KGB were close associates of
                 Lazarenko's and that he was afraid to answer any questions· because of
                 these relationships.

                            Ditiatkovsky stated that he was interviewed again on April
                 15, 2000, in Milan, Italy. Based on his relationship with Lazarenko,
                 and bribes paid to Lazarenko by Ditiatkovsky, Ukraine had issued an
                 arrest warrant for Ditiatkovsky.    Ditiatkovsky was arrested in Milan
                 based off of this warrant and was in jail for six months. In exchange
                 for his information about his dealings with Lazarenko, all charges
                 against Ditiatkovsky were dismissed in the Ukraine. According to
                 Ditiatkovsky, on June 22, 2001, all of the charges were dropped.
                 Ditiatkovsky informed that in the Ukraine it was necessary to pay money
                 to people in positions power, in exchange for preferential treatment
                 and to obtain the licenses needed to conduct business.      Ditiatkovsky
                 informed that he was interviewed for two hours by Nikoli Obichod, from
                 the Ukrainian PGO. The PGO knew that it would be difficult to extradite
                 him from Italy back to the Ukraine, so they interviewed him in Italy.
                 Ditatkovsky stated that the PGO knew about most of the transfers of funds
                 from Ditiatkovsky to Lazarenko.    Ditiatkovsky stated that because of
                 his knowledge of Lazarenko' s business dealings, th.ere had been several
                 threats made against Ditiatkovsky's life. The PGO offered to provide
                 Ditiatkovsky with protection.

                           Ditiatkovsky stated that Mykola Agafonov, the manager of the
                 Nakovy State Farm and another business associate of Lazarenko, had
                 placed a contract out against Ditiatkovsky's life.

                           Ditiatkovsky also believed that a man named Butkevich, the
                 head of security for Yulia Tymoshenko, also put a contract out against
                 his life.

                            Ditatkovsky stated that even though he was arrested in Milan,
                 Italy, He has never been found guilty of a crime, he has never pled guilty
                 to a crime and all charges against him were dropped~

                          Di tatkovsky stated that he was inte.rviewed again on or around
                March 3, 2001, in Zurich, Switzerland, by the Ukrainian PGO.        PGO
                Investigator Nikoli Obichod wanted Ditiatkovsky to take Investigator
                Mochanov to Liechtenstein to review the financial records for
                Ditiatkovsky's business OPTECH.    It was from the bank accounts for
                OPTECH that most of Ditiatkovsky's payments to Lazarenko were made.




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                Di tiatkovsky stated that he started the company OPTECH in Liechtenstein
                to work with Lazarenko and to have a bank account from which to pay
                Lazarenko 50% of the profits.

                          Prior to opening the OPTECH account in Liechtenstein,
                Ditiatkovsky had a personal account at BAWAG Bank, in Austria, and it
                was from this personal account that one or two payments were made to
                Lazarenko. This included the payment of $450,000 to Lazarenko's Lip
                Handle account on 7/26/93.

                          Ditiatkovsky stated that he was the man behind the scenes of
                at least three companies.   Ditiatkovsky would come up with an idea,
                design a concept for the company and then get the business started.
                These companies did not give money to Lazarenko.

                          Ditiatkovsky stated that Lazarenko would just select a
                company that he knew would work with him and could make money.
                Lazarenko worked with companies that sold metal and would get a share
                of as much as $25-$50 per ton of metal product.

                          One of these companies was Nakosta Metal, which was operated
                by Alexander Kox.   Kox was a business associate of Lazarenko and
                traveled with Lazarenko to Switzerland.     Ditiatkovsky believed that
                Nakosta Metal (Kox) sent money to Lazarenko through accounts in the name
                of Peter Kiritchenko.

                          Ditiatkovsky stated that Lazarenko instructed him to wire
                money to a Nakosta Metal account.  Ditiatkovsky believes that these
                funds were later transferred on to Lazarenko from Nakosta Metal.

                           Ditiatkovsky believes that Percobank was associated with
                Yulia Tymoshenko. A man named FNU Bespaliy was the Vice President of
                Percobank.   Bispaliy is now a member of the Ukrainian parliament.

                          On January 31, 1994, Zemelniy Bank was started in Ukraine.
                This bank was a mortgage bank. Ditiatkovsky started the bank and was
                chairman of the bank at one point. In the 1990' s, inflation in the the
                Ukriane was 1000%.    Ditiatkovsky started the bank with $1 million
                dollars and at this time he owned 51% of the bank. Ditiatkovsky stated
                that Lazarenko gave him the needed approvals to start a bank.
                Ditiatkovsky stated that from 1999 to present, Lazarenko received money
                through one of his (Lazarenko's) attorney, of 6-8% or approximately
                $70,000 per year.

                          Ditiatkovsky stated that he first met Lazrenko in 1984 when
                Ditiatkovsky was the Deputy Director of a restaurant and catering
                business called Stazaya Bashnya. This restaurant would cater events
                for important people and Ditiatkovsky met many of them including
                Lazarenko. Ditiatkovsky met Lazarenko many times in 1986-1987, maybe
                even back in 1985.

                          After the fall of communist rule, Lazarenko provided the
                necessary documents and approvals for the restaurant business to be




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               privatized.   Ditiatkovsky wrote up the proposal for the privatization
               and Lazarenko agreed and provided the documents. Ditiatkovsky stated
               that Lazarenko would write down bank instructions and would show it to
               Ditiatkovsky. Ditiatkovsky was instructed to write the information down
               himself. Ditiatkovsky believes he was asked to do this so that he never
               was in possession of instructions written in Lazarenko's handwriting.

                          Ditiatkovsky was asked if he was threatened by Lazarneko.
               Ditiatkoavsky made it clear that he knew that Lazarenko was a very
               powerful man and that Lazarenko would constantly tell Ditiatkovsky that
               he had to live up to his obligations. Ditiatkovsky stated that in 1999
               he was in Switzerland with Lazarenko and Lazarenko told him to live up
               to his obligations, and Ditiatkovsky understood this to mean keep
               sending Lazarenko money.    Ditiatkovsky stated that all of their
               meetings were face to face and that they met at least a six times.

                          Ditiatkovsky stated that he was often afraid of being
                kidnaped, and that he often traveled with a security detail.

                          Ditiatkovsky stated that the first company he started was
               called SELHOZTECH IMPORT.   It was while he was running this business
               that Lazarenko first saw Ditiatkovsky as a successful businessman, and
               it was at this time that Lazarenko instructed Ditiatkovsky to start a
               business called Dneproneft. This was in 1993. Lazarenko arranged for
               Dneproneft to get the appropriate licenses to barter commodities, both
               import and export, and to receive tax exemptions as a trading company.
               This company was set up to trade in all types of commodities.     This
               company started to make money. Then Dneproneft started purchasing
               other companies, real estate and eventually purchased the restaurant/
               catering business.

                            Ditiatkovsky stated that a man named Kovalev owned the
               Jurimex Company. Money, $1.5M, was wired from a Jurimex account into
               one of Di tiatkovs ky' s account. Di tiatkovsky was told by Lazarneko that
               this money was from Nakosta Metal. Ditiatkovsky said that it was his
               understanding that Nokosta Metal purchased agricultural companies in
               the Ukraine via a company called Agrosnabservice.        Ditiatkovsky
               believes that Nokosta Metal still holds monies for Lazarenko today,
               possibly as much as $25 million.

                          Ditiatkovsky was asked about Peter Kiritchenko. Ditiatkovsky
               stated that he first met Kiritchenko 20 years ago and that they were
               competitors in the business world. Lazarenko told Ditiatkovsky that
               he had a business arrangement with Kiritchenko and Agafonov and
               Lazarenko added that "They are happy with this arrangement. You need
               to do the same deal". Lazarenko told Ditiatkovsky that this deal was
               to remain just between them, and Ditiatkovsky stated that he did not
               talk to the other businessmen who had similar relationships with
               Lazarenko.

                         Ditiatkovsky stated that he and Yulia Tymoshenko were not
               friendly. Ditiatkovsky did know Agafonov since 1988, but that Agafonov
               never mentioned the arrangements he had with Lazarenko to him.




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                Ditiatkovsky stated that he only knew a little about ITERA and Makarov.
                Lazarenko would send Ditiatkovsky to meetings at GASPROM to act as his
                ears and get information from other businessmen who would drink too much
                and talk too much.

                           Ditiatkovsky stated that he did not know much about DAV RIGA,
                but believed that it this company may have a corresponding bank account
                at Slaviansky Bank in the Ukraine.

                           Ditiatkovsky stated that one of the Slaviansky Bank
                representative named Feldman went to prison but did not testify against
                Lazarenko.   He believes that Feldman ended up working for Yulia
                Tymoshenko.

                                 Ditiatkovsky had no knowledge of accounts at Eurofed Bank.

                          Ditiatkovsky stated that he did travel on several occasions
               to meek with Lazarenko about money matters. In 1993-94, Ditiatkovsky
               traveled from Kiev, to Vienna, Austria and to Zurich, Switzerland to
               meet with Lazarenko. On one trip, Mr. Kovalev, (Jurimex Company) was
               with Lazarenko from Vienna to Zurich.    On one trip, Ditiatkovsky
               traveled with Lazarenko to Czechoslovakia and he, Lazarenko and
               Kiritchenko all stayed at the same hotel. While in Austria, Lazarenko
               was with his body guards and told Ditiatkovsky, that he wanted to meet
               his wife. This made Ditiatkovsky feel uneasy, but he was never in a
               position to refuse.

                         Di tiatkovsky stated that he has never held a position of power
               in the Ukrainian government.    Ditiatkovsky added that even though
               Lazarenko is no longer in power, he still had enough power, by using
               his contacts with Leonid Gadiatsky, who is now a member of Ukrainian
               Parliment, to get Ditiatkovsky's company, Dneproneft, audited in 2004.

                         In February, 2004, Horowitz, who was one of Lazarenko's
               attorney's flew to Israel to visit Ditiatkovsky's parents.
               Ditiatkovsky stated that Horowitz begged Ditiatkovsky's parents to
               persuade Ditiatkovsky not to testify against Lazarenko. There were
               many phone calls to Ditiatkovsky's family members and in the end,
               Ditiatkovsky was talked out of testifying.

                         Ditiatkovsky stated that Leonid Gadiaksky still owns a
               percentage of the several Ukrainian companies on behalf of Lazarenko.
               He believes that these include:
                         Tanas Aktiengesellschaft
                         Tanas AG, registered in Liechtenstein
                         Holy Pavel Holdings
                         Zemelny Bank in Ukraine


                          Ditiatkovsky believes that money from Tanas AG was wired to
               Holy Pavel Holdings at the Royal Bank of Canada, and that Lazarenko may
               have accounts at the BC Central Credit Union in Vancouver, BC.
               Ditiatkovsky also believes that some of Lazarenko's money ended up in




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                Richmond, Virginia.  Ditiatkovsky believes that for the last three
                years, Lazarenko, or his family members have been sending money to an
                account in the name of Holy Pavel Holdings.

                            Ditiatkovsky stated that Lazarenko may be hiding funds in
                accounts in the name of Surface Investment Inc, a British Virgin Islands
                Co.    Surface Investment Inc may own Ukrinvest in the Ukraine.
                Di tiatkovsky believes that Dugsbury Inc., bought hotels in the Ukraine
                and was used as a front company to purchase real estate in the Ukraine.
                Ditiatkovsky believes that some of Lazarenko' s money was used to invest
                in Kiev Star, the largest telecommunications company in the Ukraine.


                         Ditiatkovsky believes that Lazarenko wired as much as $5
               million dollars into accounts in Israel back in 2002.  It may be in
               Hapoalim Bank in Israel.

                         Ditiatkovsky was told by other businessmen that Lazarenko has
               more than $1 billion out of the country.




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